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                             EXHIBIT D
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          US10057219B2                                                        Linode (“The accused system”)
1. A remote data processing          The accused system practices a remote data processing (e.g., cloud computing, cloud analysis, etc.) method
method implemented by a server       implemented by a server system (e.g., Linode cloud server) for a user system (e.g., a user computer system)
system for a user system via the     via the Internet, the server system (e.g., Linode cloud server) having memory (e.g., memory of Linode cloud
Internet, the server system having   servers) associated therewith.
memory associated therewith, the
method comprising:                   The accused system provides cloud infrastructure to perform remote cloud computing, analysis, development,
                                     etc.




                                     https://www.linode.com/
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         https://www.linode.com/products/linode-api/
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                                    https://www.linode.com/marketplace/

storing, in the memory associated   The accused system practices storing, in the memory (e.g., memory of Linode cloud servers) associated with
with the server system, computing   the server system (e.g., Linode cloud servers), computing information about at least one computing algorithm
information about at least one      (e.g., Marketplace app, software, APIs, etc.) available via the server system (e.g., Linode cloud servers) at a
computing algorithm available via   plurality of cloud processing services (e.g., Linode instances, Virtual machines, etc.) over the Internet.
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the server system at a plurality of
cloud processing services over the As shown below, Linode provides a management console to a user. The user can select Martketplace App
Internet;                           such as WooCommerce, Software, APIs, etc. from, Linode or other vendors provided at Linode marketplace
                                    in the management console. Also, Linode cloud infrastructure provides Linode cloud manager which stores
                                    usages pattern, log information, performance of CPU, memory, network bandwidth, etc. of Linode cloud
                                    products. Its auto resizer (e.g., a server system) utilizes the information from server to analyze utilization
                                    behavior and upgrades (optional service chosen by user) for an optimum configuration and usages of cloud
                                    resources (Virtual Machines).




                                    https://www.linode.com/
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         https://www.linode.com/products/cloud-manager/
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                                     https://www.linode.com/pricing/




compiling, at the server system,     The accused system practices compiling, at the server system (e.g., Linode cloud servers), first heuristic
first     heuristic    information   information (e.g., analysis of usages pattern, log information, performance of CPU, memory, network
indicative of each of the cloud      bandwidth etc.) indicative of each of the cloud processing services (e.g., Linode instances, Virtual machines,
processing services in running the   etc.) in running the at least one computing algorithm (e.g., software, API or app such as marketplace
at least one computing algorithm     (WooCommerce, PLEX), Kubernetes etc.,), providing the result over the Internet and making the first
and providing the result over the    heuristic information (e.g., analysis of usages pattern, log information, performance of CPU, memory,
Internet;                            network bandwidth, etc.) for the cloud processing services (e.g., Linode instances, Virtual machines, etc.)
making the first heuristic           available at the server system (e.g., Linode cloud servers) to the user system (e.g., a user computer).
information for the cloud
processing services available at     As shown below, the accused system determines processing services, e.g., Linode instances, Virtual machines,
the server system to the user        etc. to run software, API, app, etc. It provides Linode cloud Manager which analyzes usages pattern, log
system; and                          information, performance of CPU, memory, network bandwidth, etc. The cloud manager utilizes the analyzed
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         information to recommend Linode processing services optimal to use for the software, API, etc. (e.g., selected
         computing algorithm). It also provides comparison related to predicted future utilization of currently
         configured processing services and recommended processing services.




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         https://www.linode.com/products/cloud-manager/
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         https://www.linode.com/products/monitoring/
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receiving, at the server system     The accused system practices receiving, at the server system (e.g., Linode cloud server) from the user system
from the user system, a selection   (e.g., a user computer), a selection of one of the cloud processing services (e.g., Linode instances, Virtual
of one of the cloud processing      machines, etc.) to perform processing of input data (e.g., raw data, files, images, etc.) with the at least one
services to perform processing of   computing algorithm (e.g., software, APIs, apps such as marketplace (WooCommerce, PLEX), Kubernetes
input data with the at least one    etc.,).
computing algorithm.
                                    As shown below, the accused system determines processing services such as Linode instances, Virtual
                                    machines, etc., to run software, API, etc. It provides Linode cloud manager which analyzes usages pattern,
                                    log information, etc. The Linode cloud manager utilizes the analyzed information to recommend Linode
                                    processing services optimal to use for the software, API, app, etc. (e.g., selected computing algorithm). It also
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         provides comparison related to predicted future utilization of currently configured processing services and
         recommended processing services. It also provides cost information based on the analyzed data. A user can
         select recommended processing services (e.g., Linode instances, Virtual machines, etc.).




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         https://www.linode.com/marketplace/apps/
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         https://www.linode.com/products/cloud-manager/
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         https://www.linode.com/pricing/
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         https://www.linode.com/docs/guides/resizing-a-linode/
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         https://www.linode.com/docs/guides/how-to-deploy-woocommerce-with-marketplace-apps/
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         https://www.linode.com/docs/guides/resizing-a-linode/
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         https://www.youtube.com/watch?v=6VN_PH3DBzY&ab_channel=Linode
